Case 1:01-cr-01243-CBA   Document 646   Filed 05/19/06   Page 1 of 9 PageID #: 679




                                           /s/ Hon. Carol B. Amon
Case 1:01-cr-01243-CBA   Document 646   Filed 05/19/06   Page 2 of 9 PageID #: 680
Case 1:01-cr-01243-CBA   Document 646   Filed 05/19/06   Page 3 of 9 PageID #: 681
Case 1:01-cr-01243-CBA   Document 646   Filed 05/19/06   Page 4 of 9 PageID #: 682
Case 1:01-cr-01243-CBA   Document 646   Filed 05/19/06   Page 5 of 9 PageID #: 683
Case 1:01-cr-01243-CBA   Document 646   Filed 05/19/06   Page 6 of 9 PageID #: 684
Case 1:01-cr-01243-CBA   Document 646   Filed 05/19/06   Page 7 of 9 PageID #: 685
Case 1:01-cr-01243-CBA   Document 646   Filed 05/19/06   Page 8 of 9 PageID #: 686
Case 1:01-cr-01243-CBA   Document 646   Filed 05/19/06   Page 9 of 9 PageID #: 687




                                           /s/ Hon. Carol B. Amon
